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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


JOSEF REED and MADREAL SOLUTIONS,
LLC,
                                                            Case No. 4:20-cv-152
               Plaintiffs,

       v.
                                                   (Warren County Case No. LACV038422)
AG MANUFACTURING & TECHNOLOGY,
INC. and AG MANUFACTURING &
                                                         NOTICE OF REMOVAL
TECHNOLOGY, LLC,

               Defendants.


       COME NOW Defendants, Ag Manufacturing & Technology, Inc. and Ag Manufacturing

& Technology, LLC, pursuant to 28 U.S.C. §§ 1441(a) and 1446, and LR 81, and file this Notice

of Removal of the above-styled cause of action from the Iowa District Court for Warren County

to this Court and respectfully state as follows:

       1.      On March 31, 2020, Plaintiffs Josef Reed and Madreal Solutions, LLC

(“Plaintiffs”) commenced this action against Defendants in the Iowa District Court for Warren

County captioned Josef Reed and Madreal Solutions, LLC v. Ag Manufacturing & Technology,

Inc. and Ag Manufacturing & Technology, LLC, Case No. LACV038422 (the “State Action”).

The State Action is currently pending. In the State Action, Plaintiffs have alleged state law

claims for violation of securities fraud, violation of the Iowa Wage Payment Collection Law,

breach of oral agreement, promissory estoppel, unjust enrichment, and quantum meruit.

       2.      Pursuant to the requirements of LR 81, Plaintiff Josef Reed is a citizen of

Louisiana. Upon information and belief, Plaintiff Madreal Solutions, LLC is not a citizen of

Iowa. Defendants are citizens of Iowa. Ag Manufacturing & Technology, Inc. is a corporate
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entity organized under the laws of Iowa with its principal place of business located in Warren

County, Iowa. Ag Manufacturing & Technology, LLC is an inactive name of the same entity.

       3.       Defendants were served with the Original Notice and Petition on April 16, 2020.

Copies of the Original Notice, Petition, and Returns of Service accompany this Notice as

electronic documents.

       4.       The District Courts of the United States have original jurisdiction of the State

Action under 28 U.S.C. § 1332, as it involves a civil action between citizens of different states

and the amount in controversy exceeds $75,000, exclusive of interest and costs. Jurisdiction is

also proper because the State Action is pending in Warren County, Iowa, located in the Southern

District of Iowa. 28 U.S.C. § 1441(a).

       5.       The District Courts of the United States also have original jurisdiction under 28

U.S.C. § 1331, as a federal question is presented on the face of Plaintiff’s Petition (now

Complaint).     Specifically, Plaintiff’s Count IX, Securities Fraud, allegedly arises under 15

U.S.C. § 78j.

       6.       This Notice of Removal is being filed within thirty (30) days of receipt of service

of the Petition (now Complaint). 28 U.S.C. § 1446(b).

       7.       Pursuant to LR 81(b), there are no pending motions or other matters in the State

Action. Pursuant to LR 81(c), the Defendants have not appeared in the State Action, but counsel

for Plaintiffs who have appeared in the State Action are as follows:

       William M. Reasoner
       John E. Lande
       Emily A. McGovern
       Dickinson, Mackaman, Tyler & Hagen, P.C.
       699 Walnut Street, Suite 1600
       Des Moines, Iowa 50309-3986
       Telephone: (515) 244-2600
       Facsimile: (515) 246-4550


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       Email: wreasoner@dickinsonlaw.com
       Email: jlande@dickinsonlaw.com
       Email: emcgovern@dickinsonlaw.com

       8.      Pursuant to 28 U.S.C. § 1446(d), Defendants will provide written notice to

Plaintiffs of the Notice of Removal and will file a Notice of Filing of Notice of Removal with the

Clerk of the Iowa District Court for Warren County.



Dated: May 15, 2020                            Respectfully submitted,


                                               /s/ James W. White
                                               James W. White, AT0012418
                                               BROWN, WINICK, GRAVES, GROSS
                                               AND BASKERVILLE, P.L.C.
                                               666 Grand Avenue, Suite 2000
                                               Des Moines, IA 50309-2510
                                               Telephone: 515-242-2429
                                               Facsimile: 515-323-8529
                                               E-mail: james.white@brownwinick.com

                                               ATTORNEY FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

        I certify that on May 15, 2020, I filed this document via CM/ECF, which will send notice
of electronic filing to all counsel of record.

                                                    /s/ Gabrielle Foshe, Legal Assistant




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